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                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                       (Miami Division)
                                     www.flsd.uscourts.gov


  SUNTRUST MORTGAGE, INC.                                           CASE NO.: 14-CV-21030-KMM
          Plaintiff,
  v.
  ATTORNEYS’     TITLE   INSURANCE
  FUND, INC.; DARLENE FERNANDEZ
  CARUS;      MARIA    T.    LOPEZ;
  FERNANDEZ CARUS P.A.; and MARIA
  T. LOPEZ, P.A.
          Defendants.
                                                  /

                 SUNTRUST MORTGAGE, INC.’S MOTION FOR DEFAULT
               FINAL JUDGMENT AGAINST DEFENDANT MARIA T. LOPEZ

          Plaintiff, SUNTRUST MORTGAGE, INC. (“SunTrust”), by and through undersigned

  counsel, hereby seeks entry of default final judgment pursuant to Rule 55(b), F.R.C.P., against

  Defendant Maria T. Lopez (“Lopez”) as to Counts XXIV, XXV, XXVI, and XXVII of the

  Complaint [ECF 1], and in support thereof states as follows:

          1.      SunTrust initiated the instant action by filing the Complaint [ECF 1] on March 20,

  2014.

          2.      On March 26, 2014, the Complaint was served on Defendant Lopez in accordance

  with Rule 4(e)(2)(B), F.R.C.P., by leaving a copy of the Summons and Complaint at her dwelling

  or usual place of abode with Oscar Lopez, her co-resident there. See ECF 11.

          3.      The Summons and Complaint were also served in accordance with Florida Statute

  section 48.031, and therefore in compliance with Rule 4(e)(1), F.R.C.P.

          4.      Lopez’s response was due by April 16, 2014.

          5.      Lopez has failed to file any response by April 16, 2014, and has also failed to file

  any pleading as of the date of this filing.




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         6.     On August 1, 2014, SunTrust filed a Motion for Default Against Defendant Maria

  T. Lopez [ECF 51], and a Clerk’s Default was entered on August 4, 2014 [ECF 52].

         7.     SunTrust hereby moves for entry of Default Final Judgment against Lopez as to

  Count XXIV (Fraudulent Inducement), Count XXV (Fraud), Count XXVI (Negligent

  Misrepresentation), and Count XXVII (Unjust Enrichment) of the Complaint.

         8.     Damages suffered by SunTrust as a result of Lopez’s actions are detailed in the

  Affidavit of SunTrust Mortgage, attached hereto as Exhibit “A.”

         WHEREFORE, Plaintiff, SunTrust Mortgage, Inc. respectfully requests this Court enter a

  default final judgment against Defendant Maria T. Lopez as to Counts XXIV, XXV, XXVI and

  XXVII of the Complaint in the amount of $880,858.22.

                                                         Respectfully submitted,

                                                         LIEBLER, GONZALEZ & PORTUONDO
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                                                         By:        /s/ Frank P. Cuneo
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                                                                    Florida Bar No. 715581




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                                        CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 26th day of August, 2014, a true and correct copy of the
  foregoing has been sent via electronic mail in accordance with the agreement of the parties, to all
  parties on the attached Service List.
                                                          /s/ Frank P. Cuneo
                                                          FRANK P. CUNEO



                                        SERVICE LIST
                          (CASE NO.: 14-CV-21030-MOORE/MCALILEY)

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